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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH DAKOTA
                                  WESTERN DIVISION

AMERICAN ZURICH INSURANCE COMPANY )
and HEAVY CONSTRUCTORS INC.       )
                                  )
                 Plaintiffs,      )
                                  )
v.                                )                          Case No.     5:19-cv-5044
                                  )
KUMHO TIRE CO., INC., and         )
KUMHO TIRE U.S.A., INC.,          )
                                  )
                 Defendants.      )

                                          COMPLAINT

       Plaintiffs American Zurich Insurance Company and Heavy Constructors, Inc., by and

through his undersigned attorneys, for his cause of action against Defendants Kumho Tire Co.,

Inc., and Kumho Tire U.S.A., Inc., alleges and states as follows:

                                            PARTIES

       1.      Plaintiff, American Zurich Insurance Company (hereinafter “Zurich”), is an

insurance corporation duly organized and created under the laws of Illinois with its principal place

of business in Schaumburg, Illinois.

       2.      Plaintiff, Heavy Constructors, Inc. is a South Dakota corporation with its principal

place of business in Rapid City, South Dakota.

       3.     Defendant, Kumho Tire Co., Inc. (hereinafter Kumho Tire), is a corporation duly

organized and created under the laws of South Korea with its principal place of business in Seoul,

South Korea. The address of its home office is 555, Sochon-dong, Gwangsan-gu, Gwangju, Korea.

       4.     Kumho Tire is in the business of designing, manufacturing, selling, distributing

and/or supplying motor vehicle tires that are sold in the United States and South Dakota including
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the Kumho tire that is the basis of this lawsuit, and is the parent company of Defendant Kumho

Tire U.S.A., Inc.

        5.     Defendant, Kumho Tire U.S.A., Inc. (hereinafter KTUSA), is a wholly owned

subsidiary of Defendant Kumho Tire, and is a California corporation with its principal place of

business in Georgia located at 133 Peachtree Street, NE Suite 2800, Atlanta, GA. Its registered

agent is Teresa Lam, and she can be served at 133 Peachtree Street, NE Suite 2800, Atlanta, GA.

As such, Defendant KTUSA is a citizen of both California and Georgia.

        6.     KTUSA is in the business of designing, manufacturing, selling, distributing and/or

supplying motor vehicle tires within the State of South Dakota, including the subject tire at issue

in this lawsuit.

        7.     KTUSA has been acting as the exclusive agent of Kumho Tire in the United States.

        8.     Upon information and belief, at all times material hereto, and KTUSA is the alter

ego of Kumho Tire, which owns all or most of the capital stock of Defendant KTUSA; Kumho

Tire, KTUSA have common directors or officers; and Kumho Tire finance Defendant KTUSA;

and Kumho Tire pay the salaries and other expenses or losses of Defendant KTUSA; in the papers

of the Defendant Kumho Tire or in the statements of their officers, Defendant KTUSA is described

as its department or division, or the business or financial responsibility is referred to as Defendant

Kumho Tire’s own; and Kumho Tire use the property of Defendant KTUSA as its own; and the

directors or executives of Defendant KTUSA do not act independently in its interest but take their

orders from the Defendant Kumho Tire in the latter's interest.

                                 JURISDICTION AND VENUE

        9.     Subject matter jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1332 as

the amount in controversy, exclusive of interest and costs, exceeds $75,000.00 and there exists



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complete diversity of citizenship between Plaintiffs and Defendants.

       10.    Personal jurisdiction over the Defendants to this action is proper because the

Defendants at all relevant times conducted business in the State of South Dakota and the causes of

action asserted herein arose from and are connected to purposeful acts taken by the Defendants in

the State of South Dakota. Defendants’ contacts with the State of South Dakota were continuous

and systematic. Alternatively, KTUSA does sufficient business in South Dakota to be subject to

personal jurisdiction; and jurisdiction over Kumho Tire is therefore proper pursuant to the

doctrines of agency, instrumentality, and/or alter ego such that KTUSA’s contacts may be imputed

onto the Kumho Tire.

       11.    Venue in this Court is proper because this is where the accident occurred and where

the Kumho Tire was sold.

                                  FACTUAL ALLEGATIONS

       12.    At all times material hereto, Kumho Tire and KTUSA were jointly engaged in the

business of designing, manufacturing, selling, distributing and/or supplying motor vehicle tires,

including the “Kumho” branded LT 265/17/16 tire (hereinafter “the Kumho Tire”).

       13.    Kumho Tire and KTUSA did design, manufacture, sell, distribute and/or supply

motor vehicle tires, including the Kumho LT 265/17/16, in the State of South Dakota.

       14.    The Kumho Tire was represented and marketed to Heavy Constructors as a proper

replacement tire for its 2002 Ford F250 Flatbed pickup trick (hereinafter “the Truck”) prior to June

22, 2016.

       15.    The Kumho Tire was sold to Heavy Constructors in Rapid City, South Dakota prior

to June 22, 2016 by an authorized Kumho Tire retailer.

       16.    The Kumho Tire was properly installed on the Truck prior to June 22, 2016.



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        17.    The Kumho Tire was properly maintained and used in the normal and expected

course of conduct from the date it was purchased.

        18.    At all times material hereto, Zurich provided workers’ compensation insurance

coverage to Justin L. Hawk Wing (hereinafter “Justin”) pursuant to a policy issued to his employer

Heavy Constructors under which Justin was covered.

        19.    On or about June 22, 2016, in South Dakota, while Justin was working in the course

and scope of his employment and was a passenger in the Truck on his way back to the job site with

two other employees, the Kumho Tire suddenly and unexpectedly separated, resulting in a

catastrophic deflation and causing the Truck to leave the road and overturn.

        20.    Neither the driver nor occupants of the Truck had any warning or notice that the

Kumho Tire was about to fail resulting in the crash.

        21.    As a result of the crash, Justin was thrown from the Truck and sustained severe

injuries.

        22.    That the driver, Robert Bear Shield, sustained fatal injuries as a result of the accident.

        23.    That the occupant Jaydee Spotted Elk sustained personal injuries as a result of the

accident.

        24.    Zurich has paid workers’ compensation benefits and mitigation expenses and may

continue to pay benefits to and on behalf of Justin for injuries sustained as a result of the accident.

Zurich brings its claims both as a subrogee of Justin and in its individual capacity.

        25.    That Heavy Constructors has paid for property damages, workers’ compensation

benefits and mitigation expenses to and on behalf of Justin for the injuries sustained as a result of

the accident. Heavy Constructors brings its claims both as subrogee of Justin and in its individual

capacity.



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                                             COUNT I
                                           NEGLIGENCE

       26.      The Defendants had a duty to exercise reasonable care in the design, manufacture,

marketing, testing, approval, application for approval, inspection, sale and distribution of the

Kumho Tire into the stream of commerce.

       27.      The    Defendants     failed   to       exercise   ordinary   care   in   the   design,

manufacture, marketing, testing, inspection, sale and/or distribution of the Kumho Tire into

the stream of commerce; in failing to warn of the Kumho Tire’s dangerous and defective condition;

in failing to take precautions necessary to avert, avoid and eliminate the dangerous, defective, and

hazardous condition which caused injury to the plaintiff; in causing, permitting, allowing and/or

acquiescing in the occurrence of the accident; and in failing to discover that the Kumho Tire was

in a dangerous and defective condition.

       28.      The Defendants’ negligence related to the Kumho Tire includes, but is not limited

to, the following:

       a. Designing and manufacturing an inner liner that was too thin for overall size for the

             tire and the intended and expected uses of the tire;

       b. Failure to design and manufacture the tire inner liner to account for the effects of

             permeating oxygen;

       c. Using inadequate and improper specifications and formulas resulting in inadequate

             bonding/curing with the brass coated steel cables;

       d. Allowing too much ambient humidity into the manufacturing process.

       e. Inadequate consideration of the ambient temperatures to which the tire would be

             subjected in ordinary road operation in the State of South Dakota;

       f. Designing the tire with an inadequate margin of safety to prevent tread and belt

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      separations in ordinary road operations or under expected and anticipated road

      conditions;

   g. Inadequate sizing or compounding of the belt wedges and/or insulation strips;

   h. Excessive use of fillers or other ingredients in inner liner compound(s) and/or the use

      of an inappropriate inner liner compound(s);

   i. Utilization of improper compounds for, or ingredients in, the ply rubber stocks, belt

      rubber stocks and tread base rubber stocks to achieve a cost savings at the expense of

      adequate adhesion of tire components;

   j. Failure to utilize and assemble tire components in a way that would result in the tread

      wearing out before the other tire components failed;

   k. Failure to incorporate in the design of the tire a full nylon overlay, overbelt or cap strip

      to inhibit known propensity of steel radial tire failures by tread and belt separations;

   l. Inadequate manufacturing resulting in inadequate overlay of the nylon cap.

   m. Insufficient design of the belt edges, which rendered the tire insufficiently robust to

      withstand the stresses applied by normal and foreseeable use;

   n. Engineering, designing and selling a tire that is unreasonably sensitive to variations in

      the manufacturing and/or production process;

   o. Inadequate and improper construction methods and materials;

   p. Failure to maintain adequate quality control during manufacture;

   q. Failure to maintain adequate records of real-world tire performance;

   r. Failure to correct the defects revealed by real-world tire performance records;

   s. Failure to issue adequate or any post-sale warnings about the problems; and

   t. Defects the Defendants discovered, were or should have been aware of or which were



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             brought to the Defendants’ attention.

       29.      As a result of the negligence of Defendants, the Kumho Tire was unreasonably

dangerous for its ordinary and foreseeable use at the time it left the possession of Defendants.

       30.      Defendant’s negligent design and manufacture directly and proximately caused

Justin to sustain severe injuries and Plaintiffs to incur property damage, mitigation damages,

medical expenses and workers’ compensation benefits to Justin for his injuries.

                               COUNT II
         STRICT DESIGN AND MANUFACTURING DEFECT PRODUCT LIABILITY

       31.      The Kumho Tire was manufactured, marketed and sold by Defendants to Heavy

Constructors in their ordinary business. It reached Heavy Constructors and Justin as users or

consumers without substantial change in the condition in which it was sold.

       32.      At all times material hereto, the Kumho Tire was defective in design and/or

manufacture, as described in paragraph 28, above.

       33.      As a result of the nature of the product sold and the failures identified in paragraph

28, and/or through the failure warn, the Kumho Tire was unreasonably dangerous to persons or

property when it left the possession of the Defendants.

       34.      The defective design and/or defective manufacture and/or defect(s) as a result of

inadequate instructions or warnings were conditions of the Kumho Tire that existed at the time it

left the control of the Defendants, entered the stream of commerce in the State of South Dakota;

and reached Heavy Constructors and Justin as the consumer or user.

       35.      The Kumho Tire failed to perform as safely as an ordinary consumer would expect

when used in an intended or reasonably foreseeable manner. The benefits of the design of the

Kumho Tire do not outweigh the risk of danger inherent in such design. Moreover, the Defendants

could have provided a safer alternative design into the Kumho Tire. A safe alternative design

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existed at the time the Kumho Tire was manufactured and sold, and it would not have substantially

impaired the product’s utility. Such a safer alternative design was economically and

technologically feasible at the time the product left the control of the Defendants by the application

of existing or reasonably achievable scientific knowledge.

           36.     As a direct and proximate result of the defects related to the Kumho Tire, Justin

sustained injuries, and Plaintiffs sustained damages.

           37.     The Defendants are strictly liable under without regard to proof of negligence or

gross negligence.

                                           COUNT III
                              STRICT LIABILITY - FAILURE TO WARN

           38.     The foreseeable risks of harm from the Kumho Tire could have been reduced or

avoided by providing reasonable instructions and/or warning on and/or with the product.

           39.     The Defendants failed to provide such reasonable instruction and/or warnings with

the Kumho Tire at the time it designed, manufactured, marketed, sold, distributed, and/or supplied

the product.

           40.     That the Defendants were aware that its tires are not to be sold more than 3 years

past their date of manufacture for the safety of its customers.

           41.     The Defendants were aware of the substantial risk of harm associated with defect in

the Kumho Tire, but nonetheless failed to properly warn consumers of such grave danger.

           42.     The Defendants’ failure to warn was a direct legal and proximate cause of the

accident and Plaintiff’s damages.

           43.     In connection with the purchase of the Kumho Tire, Defendants provided an express

Limited Warranty Against Defects in Workmanship and Materials for the life of the original tread. 1


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    https://kumhotireusa.com/tire-basics/oewarranty

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       44.    Plaintiffs experienced a defect with the Kumho Tire within the warranty period.

Despite the existence of the warranties, the Defendants failed to inform Plaintiffs that the Kumho

Tire was defective and unsafe, and prone to failure and tread separation.

       45.     By advertising that the Kumho Tire was safe, durable and would perform under

ordinary driving conditions, Defendants expressly warranted to Plaintiffs that the Kumho Tire

minimally complied with all applicable laws and regulations relating to tires and tire safety.

                                     COUNT IV
                          BREACH OF EXPRESS WARRANTY

       46.     Through its advertising, marketing and promotional representations, Defendants

warranted that the Kumho Tire would be safe, durable and would perform under ordinary driving

conditions. Such statements became the basis of the bargain for Plaintiffs because such statements

are among the facts a reasonable consumer would consider material in the purchase of a vehicle.

       47.      Defendants breached these express warranties because the Kumho Tire did not

have the safety, durability and performance characteristics warranted by Defendants.

       48.      As a direct and proximate result of the breach of the express warranties by

Defendants, Plaintiffs have been damaged in an amount to be determined at trial.

                                COUNT V
             BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

       49.    That at the time the Kumho Tire was designed, engineered, manufactured, inspected,

distributed and sold by the Defendants, it was not fit for the ordinary purposes for which such

goods are used as demonstrated above in paragraph 28.

       50.    That the Defendants breached their implied warranty of merchantability created

under SDCL § 57 A-2-314.

       51.    The Kumho Tire was not of merchantable quality and not fit for its foreseeable use



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and a direct and proximate cause of the accident and Plaintiffs’ damages.

       52.      The failure by Defendants to comply with the implied warranty of merchantability

violates Section 2310(d)(1) of the Magnuson-Moss Warranty Act, a direct and proximate result of

which is that Plaintiffs have sustained the losses and damages as described above.

                                   COUNT VI
                     BREACH OF IMPLIED WARRANTY OF FITNESS

       53.      That at the time of the sale of the Kumho Tire, the Defendants had reason to know

the particular purpose for which the tire was required.

       54.      That Plaintiffs relied on Defendants’ skill, reputation and judgment to select and

furnish suitable goods.

       55.      That at the said time the Kumho Tire was designed, engineered, manufactured,

inspected, distributed and/or sold by the Defendants, Kumho Tire was not fit for the ordinary

purposes for which such goods are used as demonstrated above in paragraph 28.

       56.      That the Defendants breached their implied warranty of fitness created under SDCL

§ 57 A-2-315.

       57.      The failure by Defendants to comply with the implied warranty of fitness violates

Section 2310(d)(1) of the Magnuson-Moss Warranty Act, a direct and proximate result of which

is that Plaintiffs have sustained the losses and damages as described above.

                                        PRAYER FOR RELIEF

        WHEREFORE, the Plaintiffs American Zurich Insurance Company and Heavy

Constructors demands judgment against the Defendants actual, compensatory, exemplary,

punitive and statutory penalties and damages, including interest, in an amount to be proven at

trial; together with the pre- and post- judgment interest, costs, disbursements and attorney’s fees

in this action, and any other relief this Court may deem just and proper.

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                                         JURY DEMAND

                  Plaintiffs hereby demand a jury trial for all issues so triable.



    Dated this 17th day of June, 2019.

                                          Respectfully Submitted,


                                          _/s/ Daniel E. Ashmore _______________
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